 Case: 4:16-cr-00528-AGF Doc. #: 341 Filed: 11/16/18 Page: 1 of 1 PageID #: 2304


                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
UNITED STATES OF AMERICA,                         )
                                                  )
         Plaintiff,                               )
                                                  )
    v.                                            )       No. 4:16-CR-00528-AGF
                                                  )
KERRY ROADES,                                     )
                                                  )
         Defendant.                               )
                                                  )
                                            ORDER

         IT IS HEREBY ORDERED that the Government’s Motion to Withdraw (Doc. No. 340)

the previously filed Motion for Order to Show Cause is GRANTED. The Motion to Show Cause

(Doc. No. 339) is deemed withdrawn.

         IT IS FURTHER ORDERED that the Clerk of Court shall serve a copy of this Order on

Tricia Roades at the address listed on the Government’s motion.

         Dated this 16th day of November, 2018.


                                                      __________________________________
                                                      AUDREY G. FLEISSIG
                                                      UNITED STATES DISTRICT JUDGE
